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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    CRYTEK GMBH,                              Case No. 2:17-cv-08937-DMG (FFMx)
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                           Plaintiff,             Referred for settlement proceedings
  13                                              to Magistrate Judge Alexander F.
              v.
  14                                              MacKinnon
        CLOUD IMPERIUM GAMES
  15
        CORP, et al.,                             ORDER RE SETTLEMENT
  16                                              CONFERENCE
                           Defendants.
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  19         This case has been referred to Magistrate Judge Alexander F. MacKinnon for
  20   settlement proceedings. The Settlement Conference has been placed on calendar for
  21   Tuesday, July 16, 2019 at 11:00 a.m., in Courtroom 780, 7th Floor, 255 East
  22   Temple Street, Los Angeles, California 90012. Magistrate Judge MacKinnon will
  23   not be involved in the trial of the case and will assist the parties in an objective
  24   appraisal and evaluation of the case. The following are requirements for the
  25   parties in preparing for the Settlement Conference.
  26         1.     The purpose of the Settlement Conference is to permit an informal
  27   discussion between the attorneys, parties, non-party indemnitors or insurers, and the
  28   settlement judge, of every aspect of the case bearing on its settlement value.
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   1         2.     Pursuant to Local Rule 16-15.8, all settlement proceedings shall be
   2   confidential, and no statement made therein shall be admissible in any proceeding in
   3   the case, unless the parties otherwise agree.
   4         3.     Lead counsel who will try the case must be present for the Settlement
   5   Conference. In addition, a person with full settlement authority for each party should
   6   likewise be present for the conference. This requirement contemplates the physical
   7   presence of the party, or, if a corporate or government entity, the physical presence
   8   of an authorized and knowledgeable representative of your client.                    The
   9   representatives must have full and final authority, in the representative’s sole
  10   discretion, to settle the case and authorize dismissal of the case with prejudice.
  11         4.     Any insurance company that is contractually required to defend or to
  12   pay damages assessed within policy limits also should have a settlement
  13   representative present at the conference. The purpose of this requirement is to have
  14   an insurance representative present who can settle the outstanding claim or claims
  15   during the course of the conference without consulting a superior. Counsel of record
  16   will be responsible for timely advising any involved non-party insurance company
  17   of the requirements of this Order.
  18         5.     The settlement judge may, in his discretion, converse with the lawyers,
  19   the parties, the insurance representatives, or any one of them outside of the hearing
  20   of the others. The comments of the judge during such separate sessions are not to be
  21   used by counsel in settlement negotiations with opposing counsel. This is a necessary
  22   requirement in order to avoid intentional or unintentional misquotation of the judge’s
  23   comments.
  24         6.     Prior to the Settlement Conference, the attorneys are directed to discuss
  25   settlement with their respective clients and insurance representatives, so that the
  26   parameters of possible settlement will have been explored well in advance of the
  27   Settlement Conference. At the Settlement Conference, each party shall be fully
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   1   prepared to discuss all economic and non-economic factors relevant to a full and final
   2   settlement of the case.
   3          7.      No later than 5:00 p.m. ten days before the conference, each party
   4   shall submit a Confidential Settlement Statement by email it to the Magistrate
   5   Judge’s chambers email (AFM_Chambers@cacd.uscourts.gov). The Statements
   6   should not be filed with the Clerk of the Court and need not be exchanged with the
   7   opposing side.
   8                  The parties’ respective Settlement Conference Statements shall include
   9   the following:
  10                  A.      A brief statement of the facts of the case, and of the claims and
  11   defenses remaining to be tried, including the statutory or other grounds upon which
  12   the claims and defenses are founded. This statement should identify the major factual
  13   and legal issues in dispute and state the party’s position on these key issues.
  14                  B.      A discussion of the damages claimed, and of any other relief
  15   sought.
  16                  C.      A history of past settlement discussions, offers and demands,
  17   including the most recent settlement offers exchanged.
  18                  D.      A forthright evaluation of the party’s likelihood of prevailing on
  19   each of its claims and/or defenses.
  20                  E.      The approximate amount of attorney’s fees and costs expended to
  21   date, and an estimate of the fees and costs to be expended for (i) further discovery,
  22   (ii) pretrial, and (iii) trial.
  23                  F.      The party’s evaluation of the terms on which the case could be
  24   settled fairly, taking into account the litigation position and settlement position of the
  25   other side.
  26                  G.        After review of the parties’ Settlement Conference Statements,
  27   the Court may schedule a pre-conference call with counsel for both sides.
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   1         8.     At the commencement of the conference, each party through counsel
   2   may be required to make an oral presentation (not to exceed 10 minutes) of the
   3   relevant facts and law, in the presence of all parties and counsel.
   4         9.     If settlement between any or all parties is reached as a result of the
   5   Settlement Conference, it is the responsibility of all counsel to immediately report
   6   the settlement to the district judge’s courtroom deputy clerk, as well as to timely
   7   memorialize the settlement. See Local Rule 16-15.7.
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   9   DATED: 6/26/2019
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                                               ____________________________________
                                                    ALEXANDER F. MacKINNON
  12                                           UNITED STATES MAGISTRATE JUDGE
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